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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                        DOC#=---~-~
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SS&C TECHNOLOGY HOLDINGS, INC.,

                Plaintiff,                          19-cv-7859 (JSR)

                -v-
                                                    MEMORANDUM ORDER
AIG SPECIALTY INSURANCE COMPANY,

                Defendant.
------------------------------------- X
JED S. RAKOFF, U.S.D.J.                                                     !J
     Plaintiff SS&C Technologies Holdings, Inc.        ("SS&C") brought

the instant action against defendant AIG Specialty Insurance

Company ("AIG"), alleging that AIG unjustifiably refused to

provide coverage under the insurance policy that SS&C had

purchased. Complaint, ECF No. 1 ("Complaint"). Now before the

Court are the parties' cross-motions for summary judgment in

their respective favor on SS&C's claims for breach of contract

("Count One") and breach of the implied covenant of good faith

and fair dealing ("Count Three") . 1 For the reasons set forth

below, the Court grants summary judgment in favor of SS&C on

Count One and in favor of AIG on Count Three.

                          Factual Background

     Except where otherwise noted, the following undisputed

facts are taken from the parties' Rule 56.1 Statements.

1 Count Two, a claim for declaratory judgment, was dismissed in
the Court's memorandum order dated November 5, 2019. See ECF No.
28, at 9-11.
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        Plaintiff SS&C is a financial technology company that

provides, inter alia, business processing management services to

its clients. Plaintiff's Statement of Undisputed Material Facts

in Support of its Motion for Summary Judgment, ECF No. 40 ("SS&C

56.1") !! 21, 22. In early 2012, SS&C started p~oviding such

back-office services to its client Tillage Commodities Fund,

L. P.   ("Tillage"), pursuant to an Agreement to Provide

Administrative Services. ECF No. 41-10 ("Services Agreement").

        On April 29, 2015, AIG issued Specialty Risk Protector

Policy No. 01-274-16-88 to SS&C, with the policy period running

from April 30, 2015 to April 30, 2016. Policy, ECF No. 41-2

("Policy"); SS&C 56.1 ! 1; Defendant's Statement of Material

Facts and Evidence in Support of Motion for Summary Judgment,

ECF No. 45 ("AIG 56.1") ! 21. The Special Professional Liability

Coverage Section in the Policy provides: "The Insured shall pay

on an Insured's behalf all Loss in excess of the applicable

Retention that such Insured is legally obligated to pay

resulting from a Claim alleging a Wrongful Act." Policy 65. 2 The



2 "Loss" is defined to include "compensatory damages, judgments,
settlements, pre-judgment and post-judgment interest and Defense
Costs." Policy 66. "Claim" is defined to include a "Suit," which
in turn is defined as "a civil proceeding for monetary, non-
monetary, or injunctive relief, which is commenced by service of
a complaint or similar pleading." Id. "Wrongful Act" is defined
as "any negligent act, error or omissions, misstatement or


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Policy contains various exclusionary provisions, discussed in

more details below.

     Beginning on March 3, 2016, unknown third parties using

"spoof" e-mail domains sent fraudulent transfer requests to

SS&C, falsely claiming to be acting on behalf of Tillage. SS&C

56.1 ~ 25. Believing these requests to be coming from Tillage,

SS&C, over the course of three weeks, processed wire transfers

of approximately $5.9 million from Tillage's accounts to certain

bank accounts in Hong Kong, as requested by the fraudsters.           Id.

     On September 16, 2016, Tillage filed suit against SS&C in

New York Supreme Court, alleging that SS&C was grossly negligent

in handling Tillage's funds by processing fraudulent wire

transfers, breached the Services Agreement, breached the implied

covenant of good faith and fair dealing, and violated certain

provisions of the New York General Business Law ("N.Y. Gen. Bus.

L.") regarding deceptive trade practices. See Tillage

Commodities Fund, L.P. v. SS&C Technologies, Inc., No.

654765/2016 (Sup. Ct., N.Y. Cnty.)      (the "Tillage Action"). The

relief sought included "no less than $10 million" in damages

from SS&C. SS&C 56.1   ~   27. Subsequently, SS&C's motion to



misleading statement in an Insured's performance of Professional
Services for others occurring on or after the Retroactive Date
and prior to the end of the Policy Period." Id. at 67.


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dismiss the N.Y. Gen. Bus. L. claims was granted, and its motion

to dismiss the claim for breach of contract was denied. SS&C

56.1 1 32. On June 4, 2019, the Tillage Action was settled. SS&C

56.1 11 39-40; AIG 56.1 1 28. By the time of the settlement, the

only remaining claim was the claim for breach of contract

remained. AIG 56.1 11 14-15, 27, 30. 3

     On March 28, 2016, shortly after the fraudulent scheme was

uncovered, SS&C timely notified AIG of the incident and

indicated that the incident might give rise to a covered Loss

under the Policy. Letter from AON to AIG, dated March 28, 2016,

ECF No. 41-31. On September 28, 2016, Kris Cappelluti, a senior

claims analyst at AIG, sent a letter to SS&C, acknowledging that

the Tillage Action fell within the Specialty Professional

Liability Insurance provisions and agreeing to cover SS&C's

defense costs related to the Tillage Action. Letter dated

September 28, 2016, ECF No. 41-34       (the "September 2016 Letter").

However,   in the same letter, AIG denied indemnity coverage for

any settlement relating to the Tillage Action, asserting, inter

alia, that Exclusion INV(a) of Endorsement #5 "expressly



3 The parties dispute whether the settlement related solely to
the claim for breach of contract, but this dispute does not
affect the holdings in this memorandum order. AIG 56.1 1 16;
Plaintiff's Counterstatement of Undisputed Material Facts, ECF
No. 55 ("SS&C CS 56.1") ! 16.


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excludes indemnity coverage for the $5.9 million lost in this

alleged fraudulent email scheme." Id. AIG also stated in the

letter that Exclusions 3(a), 3(h), 3(j) (2), 3(j) (5), 3(j) (7),

3(j) (10), and 3(p) might also apply to preclude coverage

depending on facts largely unknown at the time, such as the

final outcome of the Tillage Action. Id.

     Although AIG paid for SS&C's defense costs during the

Tillage Action, AIG continued to refuse to cover for the

settlement payout, thus precipitating this lawsuit. SS&C 56.1         ~


49; AIG 56.1   ~   32. Id.

                             Procedural Background

     On August 21, 2019, SS&C brought the instant three-count

action against AIG, making (1) a claim for breach of contract,

(2) a request for a declaratory judgment that there is coverage

available for SS&C's settlement claim under the Policy, and (3)

a claim for breach of the implied covenant of good faith and

fair dealing. Complaint~~ 32-54. AIG moved to dismiss. ECF No.

22. On November 5, 2019, the Court granted AIG's motion to

dismiss Count Two as duplicative of Count One, but denied the

motion in all other respects. ECF No. 28. On November 19, 2019,

AIG filed an answer and affirmative defenses. Answer and

Affirmative Defenses, ECF No. 34           ("Answer").




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     Now before the Court are the parties' cross-motions for

summary judgment in their respective favor on Count One and

Count Three. ECF No. 38; Memorandum of Law in Support of

Plaintiff's Motion for Summary Judgment, ECF No. 39 ("SS&C

Mem."); ECF No. 43; Memorandum of Law in Support of Defendant

AIG Specialty Insurance Company's Motion for Summary Judgment,

ECF No. 44    ("AIG Mem."). Each party opposes the other party's

motion. Memorandum of Law in Opposition to Plaintiff SS&C

Technologies Holdings, Inc.'s Motion for Summary Judgment, ECF

No. 47    ("AIG Opp."); Memorandum of Law in Opposition to

Defendant's Motion for Summary Judgment, ECF No. 53 ("SS&C

Opp.").

                                Analysis

     Under Rule 56(a) of the Federal Rules of Civil Procedure, a

"court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law." "The movant

bears the burden of demonstrating the absence of a genuine

dispute of fact, and, to award summary judgment, the court must

be able to find after drawing all reasonable inferences in favor

of a non-movant that no reasonable trier of fact could find in




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favor of that party." Palmer/Kane LLC v. Rosen Book Works LLC,

204 F. Supp. 3d 565, 568 (S.D.N.Y. 2016) . 4

I.   Claim for Breach of Contract (Count One)

     Under applicable Connecticut law,       5   an insurance policy "is

to be interpreted by the same general rules that govern the

construction of any written contract." Connecticut Med. Ins. Co.

v. Kulikowski,   942 A.2d 334, 338       (Conn. 2008). In accordance

with this principle, "[t]he determinative question is the intent

of the parties, that is, what coverage the                [insured]

expected to receive and what the [insurer] was to provide, as

disclosed by the provisions of the policy." Schilberg Integrated

Metals Corp. v. Continental Cas. Co., 819 A.2d 773, 789 (Conn.

2003).

     Also under applicable Connecticut law, the elements of a

breach of contract action are "the formation of an agreement,

performance by one party, breach of the agreement by the other

party and damages." Rosato v. Mascardo, 844 A.2d 893, 902 (Conn.

Ct. App. 2004). The only element in dispute is whether AIG

breached the Policy - put differently, whether any exclusionary


4 Unless otherwise indicated, in quoting cases all internal
quotation marks, alterations, emphases, footnotes, and citations
are omitted.

5 The Court has previously determined that Connecticut law
governs the Policy. ECF No. 28, at 5 n.3.


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provision in the Policy precludes coverage. In this action, AIG

has predicated its defense on Exclusion INV(a) of Endorsement #5

and Exclusion 3(j) (10). Answer 8-9.6

     Exclusion INV(a) of Endorsement #5

     Exclusion INV(a) of Endorsement #5, with the heading

"Modified Investment Advisor Exclusion Endorsement," 7 precludes

coverage for:

       Loss in connection with a Claim made against an Insured
       alleging, arising out of, based upon or attributable to
          . the exercise of any authority or discretionary
       control by an Insured with respect to any client's funds
       or accounts. Provided, however, that this exclusion shall
       not apply to any Claim arising out of your performance of
       Professional Services. Notwithstanding the foregoing
       sentence, it is expressly understood and agreed that
       there shall be no coverage for the monetary value of any
       funds lost due to the Insured' exercise of such authority
       or discretionary control .

Policy 88.



6 After the Court's previous memorandum order determining that
Exclusion 3(a) was not a viable defense to Count One, AIG
dropped that defense. Furthermore, in this action, AIG does not
rely on Exclusions 3(h), 3(j) (2), 3(p), 3(j) (7), and 3(j) (5),
which the September 2016 Letter had noted as possibly
applicable.
7 The parties agree that SS&C was not an investment advisor for
Tillage. SS&C 56.1 ~ 72; AIG CS 56.1 ~ 72. SS&C focuses on this
heading to argue that Exclusion INV(a) contemplated exclusion of
losses stemming from investment advice, whereas SS&C was not
such an investment advisor. SS&C Mem. 12. However, the Policy
explicitly states that "[t]he descriptions in the headings of
this policy are solely for convenience, and form no part of the
terms and conditions of coverage." Policy 19.


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     The parties do not dispute that the "Provided, however"

exception to exclusion coverage applies in the present context.

That is, the Tillage Action arose out of SS&C's provision of

Professional Services - defined to include "business processing

outsourcing services including fund administration services,

reporting services, transaction processing services and

reconciliation services," see Policy 101 -       as a fund

administrator to Tillage. SS&C Mem. 14-15; AIG Opp. 8-10.

Therefore, the main dispute here is whether the final

"Notwithstanding" clause, a carve-out to the "Provided, however"

clause, is applicable.

                   1. Whether SS&C had "authority or discretionary
                      control" over Tillage's funds

     Undisputed facts clearly establish that SS&C lacked

authority or discretionary control over Tillage's funds and

accounts. The Services Agreement states:

       The management and control of the Fund [(i.e., Tillage) 8 ]
       is vested exclusively in [Tillage Commodities Management
       LLC]          [Tillage Commodities Management LLC] will
       make all decisions .    . and authorize all transactions .
            . SS&C will not maintain custody of any cash or
       securities, will not have the ability to authorize



8 "Fund" in the Services Agreement is defined as a "private
investment vehicle managed or advised by Tillage Commodities
Management, LLC." Services Agreement 2. Exhibit A to the
Services Agreement identifies the Fund as Tillage Commodities
Fund, L. P. (i.e., Tillage) . Services Agreement 14.


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       transactions .   . and will not .    . make any management
       decisions with regard to the operation of the Fund.

Services Agreement 6. Consistent with this provision, during the

course of the Tillage Action, SS&C and Tillage asserted that

redemptions and withdrawals would be made "upon approval from"

Tillage, that SS&C itself did "not have the ability to authorize

transactions," and that SS&C "did not have authority to perform

any management functions or make any management decisions with

respect to the Fund." SS&C 56.1 i i 29-30, 74; Defendant's

Counterstatement to Plaintiff's Statement of Undisputed Material

Facts in Support of its Motion for Summary Judgment, ECF No. 52

("AIG CS 56.1") i i 29-30, 74; SS&C Opp. 10.

     AIG nonetheless argues that SS&C had authority and

discretionary control over Tillage's funds because, under a

Partnership Authorization between Tillage and First Republic

Bank (which maintained Tillage's account), five SS&C employees

were identified as "Authorized Signers" on Tillage's account and

could "sign checks on, issue stop payment orders regarding, or

withdraw funds from, any account in the name of the

Partnership." AIG 56.1 i i 37-38, 42; SS&C 56.1' i     24. To release

a wire transfer, SS&C had "entitlement rights" to access the

bank over the internet so that SS&C's staff could "log into the

banking portal directly to do an enter, approval, and release



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function on the web portal." AIG 56.1 1 35. Furthermore, SS&C

had the discretion to determine whether withdrawal requests were

proper, to delay a transfer to request additional information,

or to direct the bank to transfer funds. AIG 56.1 11 34, 43-45,

48; SS&C CS 56.1 1 45.

     However, AIG is erroneously conflating SS&C's

administrative ability to operate Tillage's account, which

undisputedly existed, with SS&C's authority and discretionary

control over that account. Although SS&C had the ability to

transfer Tillage's funds and five SS&C individuals were

authorized signatories for Tillage's bank account for such

purpose, SS&C could exercise such authority only with

instructions ( ~ , signed letter of authorization)          from

Tillage. SS&C 56.1 11 24, 75; AIG CS 56.1 1 24; SS&C Opp. 9-11;

see also Transcript of Matthew Balemian Deposition, ECF No. 41-

4, at 51:14-18. The fact that an SS&C employee had the ability,

without Tillage's authorization or oversight, to put in place

instructions that caused SS&C treasury group to transfer Tillage

funds to the third-party fraudsters supports a finding that SS&C




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acted without Tillage's authorization in that instance, rather

than that SS&C had a discretionary control over Tillage's funds.9

     The Court therefore concludes that SS&C lacked authority

and discretionary control over Tillage's funds, and that there

is no genuine dispute as to this conclusion.

                  2. Whether Tillage's funds were "lost"

     While the foregoing is sufficient to show that the

"Notwithstanding" clause does not exclude SS&C's claim, SS&C

independently argues that the "Notwithstanding" exclusion does

not apply in any case because it only applies to funds that were

"lost," but not stolen. SS&C Mem. 15-16.

     In addition, SS&C is entitled to summary judgment on the

issue of whether Exclusion INV(a) is applicable on an

alternative ground that it is ambiguous as to whether Tillage's

funds were "lost."

     Because the term "lost" is not defined in the Policy, the

Court must give the word its "ordinary meaning." R.T. Vanderbilt

Co. v. Cont'l Gas. Co., 870 A.2d 1048, 1058-59 (Conn. 2015).



9 Furthermore, SS&C's rights under the Services Agreement to
ensure it "has sufficient and appropriate information and
material to discharge its obligations" relates to the
performance of "OFAC and other verifications relevant for
compliance with applicable anti-money laundering rules and
regulations." Transcript of Matthew Balemian Deposition, ECF No.
54-2, at 14:1-22; see also Services Agreement 3.


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Focusing on the notion that the terms "lost" and "stolen" embody

two distinct concepts, SS&C argues that the funds at issue were

stolen, rather than lost, rendering the last sentence of

Exclusion INV(a)   inapplicable. SS&C Mem. 15-16 (comparing the

definition of Lost ("(Of property) beyond the possession and

custody of its owner and not locatable by diligent search."),

with that of Stolen Property ("Goods acquired by larceny,

robbery, or theft.")   in Black's Law Dictionary (11th ed. 2019)).

In contrast, AIG focuses on the idea that those two terms are

not mutually exclusive: in AIG's view, the funds at issue were,

broadly speaking, "lost." AIG Mem. 12-14; AIG Opp. 16 (relying

on the definition of Lost ("no longer possessed" or "taken away

or beyond reach or attainment")    in Merriam Webster Dictionary,

http://www.merriam-webster.com/dictionary/lost (last visited

Jan. 27, 2020)).

     The Court finds both parties' interpretations equally

plausible. Because the ambiguity must be resolved in favor of

the insured (SS&C), it follows that even if the

"Notwithstanding" clause did not apply because SS&C lacked

"authority or discretionary control," as discussed above, it

would independently not apply because the funds were not "lost"




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but rather "stolen." Either way, Exclusion INV(a) does not

exclude the coverage of claim by SS&c.10

      For the foregoing reasons, the Court grants summary

judgment in favor of SS&C on Count One.

II.   Claim for Breach of the Implied Covenant of Good Faith and
      Fair Dealing (Count Three)

      Under applicable Connecticut law, "[t]o constitute a breach

of the implied covenant of good faith and fair dealing, the acts

by which a defendant allegedly impedes the plaintiff's right to

receive benefits that he or she reasonably expected to receive

under the contract must have been taken in bad faith." De La

Concha of Hartford, Inc. v. Aetna Life Ins. Co., 849 A.2d 382,

388   (Conn. 2004). "Bad faith in general implies .          . a design

to mislead or deceive another, or a neglect or refusal to

fulfill some duty or some contractual obligation, not prompted

by an honest mistake as to one's rights or duties, but by some

interested or sinister motive." Capstone Bldg. Corp. v. Am.

Motorists Ins. Co., 67 A.3d 961, 987        (Conn. 2013).




10 In its Answer to the Complaint, AIG also relied on Exclusion
3(j) (10) to deny coverage. However, in its summary judgment
briefs, AIG does not challenge SS&C's argument that Exclusion
3(j) (10) is inapplicable. Therefore, the Court deems AIG's
defense predicated on Exclusion 3(j) (10) to be waived. See
Taylor v. City of New York, 269 F. Supp. 2d 68~ 75 (E.D.N.Y.
2003).


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     SS&C puts forth several reasons why the Court should find

bad faith on AIG's part. First, SS&C argues that AIG relied on

exclusions that allegedly had no relevance to the underlying

facts of the Tillage Action. SS&C Mem. 19-20. For instance, SS&C

argues, Tillage's complaint, as well as subsequent documents

produced during the Tillage Action, made clear that SS&C lacked

any authority or discretionary control over Tillage's funds and

account, but AIG still refused to yield its coverage position,

allegedly demonstrating bad faith. SS&C 56.1 ~ 74. But, as the

discussion above illustrates, AIG's position on this issue,

while ultimately lacking in merit, was not so totally frivolous

as to warrant the inference that it was made i~ bad faith.         11



     Second, SS&C argues that the Court should find bad faith

because AIG shifted its coverage position at various points in

11
   As an additional example, SS&C refers to the deposition
testimony by Wolfe, AIG's 30(b) (6) representative, that,
although the transfers in question did not flow into or out of
an SS&C account, he believed Exclusion 3(j) (5) - which applied
only with respect to lost or diminished funds during the
transfer into or out of SS&C's account - still denied coverage
for the Tillage Action. Wolfe Dep. 143:9-146:22. Also, Wolfe
maintained that Exclusions 3(j) (2) and 3(p) continued to apply
even after the claims based on N.Y. Gen. Bus. L. were dismissed,
although those exclusions were largely predicated on those
claims. Wolfe Dep. 134:23-139:9, 150:9-153:11.
      However, AIG is not taking those positions asserted by
Wolfe in this litigation. AIG Opp. 24 n.14. Therefore, the Court
finds Wolfe's testimony in this respect largely irrelevant to
discerning whether AIG relied on exclusions that have no
relevance to the underlying facts of the Tillage Action.


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time, without reasonable basis, in an alleged attempt to justify

denial of coverage. SS&C Mem. 20-22; SS&C Opp. 22-23. For

instance, AIG stated in its September 2016 Letter that "a final

adjudication of the [allegation that SS&C worked with the

fraudsters] could exclude .          indemnity coverage for this

matter and trigger our right to recoup," whereas, at the motion

to dismiss stage of this action, AIG argued that allegations

based on the conduct of the third-party fraudsters, even in the

absence of any wrongdoing on SS&C's part, would exclude

indemnity coverage. September 2016 Letter; ECF No. 22, at 6-8. 12




12 SS&C also argues that AIG never before asserted that the
conduct of third parties alone could trigger Exclusion 3(a).
SS&C Mem. 22. In support of that proposition, SS&C points to the
deposition testimony by Cappelluti, the claims examiner who
wrote the September 2016 Letter, that she did not believe
Exclusion 3(a) applied to the fraudulent conduct of the third
parties. Transcript of Kris Cappelluti Deposition, ECF No. 41-5,
at 100:8-12. SS&C also points to a claim it filed for coverage
in Bradshaw et al. v. Maiden et al., No. 14-cv-14445 (N.C.
Super. Ct.) (the "Maiden Action"), where AIG r~sponded that
Exclusion 3(a) "may" act to deny coverage depending on whether
the allegations that SS&C played a "key role in Maiden's Ponzi
scheme" are true. SS&C 56.1 ! 54.
      However, Cappelluti's testimony and the Maiden Action alone
are not sufficient to extrapolate that AIG has never taken the
position that it took regarding Exclusion 3(a) 'here. And Wolfe
and the underwriter of the Policy testified that they thought
Exclusion 3(a) precluded indemnity coverage for fraud,
regardless of who the perpetrator was. Transcript of Christopher
Wolfe Deposition, ECF No. 41-3 ("Wolfe Dep."),' at 163:3-167:22;
Transcript of Jeffrey R. Kalustian Deposition, ECF No. 49-5, at
18:7-10, 92:3-93:25.


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      However, as AIG's counsel noted at oral argument, see

Transcript, 1/24/20, an insurance company inevitably has to

assert all possible reasons for exclusion at the earliest time,

for fear of later being found to have waived such exclusions.

Then, after further review, the company will drop many of the

asserted grounds for exclusion after more detailed inquiry. This

may be a hard-nosed approach, but it hardly amounts to bad

faith. See, e.g., McCulloch v. Hartford Life & Acc. Ins. Co.,

363 F. Supp. 2d 169, 177     (D. Conn. 2005). And in this case, in

particular, it was entirely within reason that, because of lack

of full information when the Tillage Action just began, AIG took

tentative positions on various exclusionary provisions in its

September 2016 Letter that AIG subsequently revisited.

                                Conclusion

      In sum, the Court grants summary judgment in favor of SS&C

on Count One, finding AIG liable for breach of contract, and in

favor of AIG on Count Three, finding that the claim of bad faith

should be dismissed. Counsel are hereby directed to jointly call

chambers by no later than February 4, 2020, at 5:00 p.m. to

inform the Court of what further proceedings are necessary in

this action.

      The Clerk of the Court should close the docket entries 38,

43.


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    SO ORDERED.

Dated:    New York, NY
          January   2j   2019                JED S. RAKOFF, U.S.D.J.




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